                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                                  NO: 4:21-cv-00037

 EQUAL EMPLOYMENT OPPORTUNITY      )
 COMMISSION,                       )                            COMPLAINT AND
                                   )                          JURY TRIAL DEMAND
           Plaintiff,              )
                                   )
      v.                           )
                                   )
 DBBH HOLDINGS, INC. D/B/A DAVID’S )
 TRASH SERVICE,                    )
                                   )
           Defendant.              )

                                   NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 (“Title VII”) and Title I

of the Civil Rights Act of 1991, to correct unlawful employment practices on the basis of

retaliation, and to provide appropriate relief to Danielle Spruill (“Spruill”), who was adversely

affected by such practices. As alleged with greater particularity below, Plaintiff U.S. Equal

Employment Opportunity Commission (the “Commission”) alleges that Defendant DBBH

Holdings, Inc. d/b/a David’s Trash Service (“Defendant”) discharged Ms. Spruill in retaliation for

engaging in activity protected in violation of Title VII.

                                  JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343, and 1345. This action is authorized and instituted pursuant to Section 706(f)(1) and (3) of

Title VII, 42 U.S.C. § 2000e–5(f)(1) and (3), and Section 102 of the Civil Rights Act of 1991, 42

U.S.C. § 1981a.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Eastern District of North Carolina.

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                                              PARTIES

           3.     The Commission is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII, and is expressly authorized to bring

this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

           4.     At all relevant times, Defendant has continuously been a North Carolina

corporation doing business in the State of North Carolina and the City of Washington, and has

continuously had at least 15 employees.

           5.     At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under Sections 701(b), (g), and (h) of Title VII, 42 U.S.C. §§ 2000e

(b), (g), and (h).

                                ADMINISTRATIVE PROCEDURES

           6.     More than thirty days prior to the institution of this lawsuit, Ms. Spruill filed a

charge with the Commission alleging violations of Title VII by Defendant. Defendant responded

to Ms. Spruill’s charge and participated in all aspects of the Commission’s administrative

investigation.

           7.     On July 11, 2019, the Commission issued to Defendant a Determination finding

reasonable cause to believe that Title VII was violated, and invited Defendant to join with the

Commission in informal methods of conciliation to endeavor to eliminate the discriminatory

practices and provide appropriate relief.

           8.     The Commission engaged in communications with Defendant to provide Defendant

the opportunity to remedy the discriminatory practices described in the Determination.

           9.     Defendant voluntarily declined to participate in the Commission’s conciliation

efforts.



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       10.      The Commission was unable to secure from Defendant a conciliation agreement

acceptable to the Commission.

       11.      On August 27, 2019, the Commission issued to Defendant a Notice of Failure of

Conciliation.

       12.      All conditions precedent to the initiation of this lawsuit have been fulfilled.

                                    STATEMENT OF CLAIMS

       13.      As described more fully below, on or around February 9, 2018, Defendant engaged

in unlawful employment practices at its Washington, North Carolina facility in violation of Section

704(a) of Title VII, 42 U.S.C. § 2000e-3(a). Specifically, Defendant discriminated against Ms.

Spruill by retaliating against Ms. Spruill for opposing practices she reasonably believed violated

Title VII, and for expressing an intent to participate in proceedings under Title VII.

       14.      Defendant hired Ms. Spruill, a woman, as a driver on or around May 28, 2016. For

the majority of Ms. Spruill’s tenure and through her termination on or around February 9, 2018,

Ms. Spruill worked as a residential route driver.

       15.      Throughout Ms. Spruill’s employment she was aware of offensive comments about

her sex and sexual orientation by Defendant’s Shop Manager. The Shop Manager exhibited

outward hostility toward Ms. Spruill, which created ongoing interpersonal conflict.

       16.      Outside of Ms. Spruill’s hearing, the Shop Manager frequently called Ms. Spruill

“dyke”, “lesbo”, and “bitch” to coworkers, who in turn reported the comments to Ms. Spruill.

       17.      The Shop Manager directly called Ms. Spruill “bitch” on at least one occasion.

       18.      On a separate occasion, the Shop Manager showed Ms. Spruill a large dildo

(approximately 12 inches long and very thick) that had been affixed to a door via a suction cup

and told Ms. Spruill that was what she needed so she would not be such a “bitch.”



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           19.     Ms. Spruill repeatedly complained about the Shop Manager’s conduct to

Defendant’s General Manager and Defendant’s Office Manager; however, neither manager took

any corrective action and the sex- and sexual orientation-based harassment continued.

           20.     On or around Friday, January 12, 2018, Ms. Spruill entered her assigned work truck

and discovered that several personal items she had left in the truck were missing. Ms. Spruill

subsequently learned the Shop Manager had driven Ms. Spruill’s assigned truck the previous day

and had thrown away Ms. Spruill’s personal possessions.

           21.     On or around Monday, January 15, 2018, Ms. Spruill met with Defendant’s

President and Defendant’s General Manager to discuss the Shop Manager throwing away Ms.

Spruill’s personal possessions. Ms. Spruill complained to Defendant’s President that the Shop

Manager threw away Ms. Spruill’s possessions out of malice because the Shop Manager was

always calling Spruill “dyke”, “lesbo”, and “bitch”.

           22.     Later the same day, Ms. Spruill told Defendant’s President that the Shop Manager

had been harassing Ms. Spruill and creating a hostile work environment. Ms. Spruill asked

Defendant’s President if he was aware of the EEOC and Title VII and the laws against harassment.

Defendant’s President told Ms. Spruill that he knew employment law and that Ms. Spruill was

only entitled to protection if Defendant’s President, as the company’s owner, was harassing Ms.

Spruill.

           23.     Ms. Spruill’s complaints regarding sex harassment and a sex-based hostile work

environment are activity protected under Title VII.

           24.     Ms. Spruill’s statements to Defendant’s President invoking the EEOC, Title VII,

and laws against harassment are activity protected under Title VII.




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        25.     On or around February 9, 2018, Defendant’s President discharged Ms. Spruill from

employment.

        26.     Defendant’s President stated he was discharging Ms. Spruill from employment

because Ms. Spruill had threatened Defendant with the EEOC.

        27.     Defendant provided additional reasons for discharging Ms. Spruill from

employment. The additional reasons provided by Defendant are pretextual, and when viewed in

the light of Defendant’s business practices would not have resulted in Ms. Spruill’s discharge from

employment.

        28.     Defendant discharged Ms. Spruill from employment in retaliation for engaging in

protected activity, in violation of Title VII.

        29.     Defendant would not have discharged Ms. Spruill from employment if not for Ms.

Spruill engaging in protected activity on January 15, 2018.

        30.     The effect of the practices complained of above has been to deprive Ms. Spruill of

equal employment opportunities and otherwise adversely affect her status as an employee because

Ms. Spruill engaged in protected activity.

        31.     The unlawful employment practices complained of above were intentional.

        32.     The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of Ms. Spruill.

                                       PRAYER FOR RELIEF

        Wherefore, the Commission respectfully requests that this Court:

        A.      Grant a permanent injunction enjoining Defendant, its officers, successors, assigns,

and all persons in active concert or participation with it, from engaging in retaliation against




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employees because they have opposed unlawful employment practices or otherwise engaged in

protected activity under Title VII.

        B.     Order Defendant to institute and carry out policies, practices, and programs which

provide equal employment opportunities for individuals who engage in protected activity, and

which eradicate the effects of its past and present unlawful employment practices.

        C.     Order Defendant to make Ms. Spruill whole by providing affirmative relief

necessary to eradicate the effects of its unlawful employment practices, including but not limited

to reinstatement or front pay in lieu thereof.

        D.     Order Defendant to make Ms. Spruill whole by providing compensation for past

and future pecuniary losses resulting from the unlawful practices described above, in amounts to

be determined at trial.

        E.     Order Defendant to make Ms. Spruill whole by providing compensation for past

and future non-pecuniary losses resulting from the unlawful practices described above, including

but not limited to emotional pain, suffering, inconvenience, loss of enjoyment of life, humiliation,

and loss of civil rights, in amounts to be determined at trial.

        F.     Order Defendant to pay Ms. Spruill punitive damages for its malicious and reckless

conduct, as described above, in amounts to be determined at trial.

        G.     Grant such further relief as the Court deems necessary and proper in the public

interest.

        H.     Award the Commission its costs of this action.

                                      JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by this complaint.




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Dated this the 31st day of March, 2021.

                                          Respectfully submitted:

                                          U.S. EQUAL EMPLOYMENT
                                          OPPORTUNITY COMMISSION

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